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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



                                Nos. 19-1729 & 19-3182



     DEFENSE DISTRIBUTED; SECOND AMENDMENT FOUNDATION INC;
   FIREARMS POLICY COALITION INC; FIREARMS POLICY FOUNDATION;
     CALGUNS FOUNDATION; CALIFORNIA ASSOCIATION OF FEDERAL
             FIREARMS LICENSEES INC; BRANDON COMBS,
                                             Appellants

                                            v.

                  ATTORNEY GENERAL STATE OF NEW JERSEY


                                 (D. N.J. 3-19-cv-04753)



                      SUR PETITION FOR PANEL REHEARING




Present: McKEE, SHWARTZ, and PHIPPS, Circuit Judges


              The petition for rehearing filed by Appellants and response by the Appellee

in the above-entitled case have been submitted to the judges who participated in the

decision of this Court, it is hereby ORDERED that the petition for rehearing by the panel

is granted.

       It is further ORDERED that the Court’s order entered November 21, 2019

dismissing the appeals for lack of jurisdiction is hereby VACATED. By vacating the
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prior order, the Court does not determine that it does have jurisdiction. Rather, the issue

of jurisdiction is a matter to be determined by a merits panel. Accordingly, the issue of

this Court’s jurisdiction and Appellee’s motion for summary affirmance are referred to

the merits panel. All prior submissions filed by the parties will be forwarded to the

merits panel for its consideration.

       It is noted that Appellants previously filed a brief addressing the merits on October

9, 2019. Appellants are directed to file a supplemental brief, not to exceed 10 pages,

addressing the issue of jurisdiction only, within 10 days from the date of this order.

Appellee shall file its brief within 30 days from the date of this order. Appellee shall also

be permitted an additional 10 pages to address jurisdiction. Appellants shall file and

serve their reply brief within 14 days from the date that Appellee’s brief is filed.

       In light of the action taken by the panel, the En Banc Court has determined that no

further action is required on the petition currently before it.


                                            BY THE COURT,


                                            s/ Theodore A. McKee
                                            Circuit Judge


Date: January 15, 2020
PDB/cc: All Counsel of Record
